  Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 1 of 48 PageID #: 1




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  FRACTUS, S.A.                                       §
                                                      §
                    Plaintiff,                        §
                                                      §
                                                      §
  v.                                                  §     Civil Action No. 2:22-cv-413
                                                      §
  VIVINT, INC.                                        §     JURY TRIAL DEMANDED
                                                      §
                    Defendant.                        §
                                                      §
                                                      §
                                                      §
                                                      §
                                                      §

                             COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Fractus, S.A. (“Fractus” or “Plaintiff”) hereby submits this Complaint for patent

infringement against Defendant Vivint, Inc. (“Vivint” or “Defendant”).

                                          THE PARTIES

        1.      Fractus, S.A. is a foreign corporation duly organized and existing under the

laws of Spain with its principal place of business in Barcelona, Spain.

        2.      Fractus is the owner by assignment of all right, title, and interest in U.S. Patent No.

7,907,092, No. 8,738,103, No. 8,994,604, No. 10,135,138, No. 10,468,770, and No. 11,349,200

(collectively, the “Patents-in-Suit”).

        3.      On information and belief, Defendant is a corporation organized under the laws of

the State of Utah with its principal place of business at 4931 North 300 West, Provo, Utah 84604.

Defendant has a registered agent for service of process in Texas at CT Corporation System, 1999

Bryan Street, Suite 900, Dallas, Texas 75201-3136.



                                                  1
11022307v1/017428
  Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 2 of 48 PageID #: 2




                                   JURISDICTION AND VENUE

        4.      This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. §§ 1, et seq. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

        5.      This Court has personal jurisdiction over Defendant. Fractus is informed and

believes, and on that basis alleges, that Defendant conducts business and has committed acts of

patent infringement and/or has induced acts of patent infringement by others in the State of Texas

and within this judicial district. Defendant regularly transacts business in the State of Texas and

within this District. Defendant has purposefully directed infringing activities at residents of the

State of Texas, and this litigation results from those infringing activities. Defendant regularly sells

(either directly or indirectly), its products within this district. For example, Defendant has placed

and continue to place infringing products into the stream of commerce via an established

distribution channel with the knowledge or understanding that such products are being and will

continue to be sold in this Judicial District and the State of Texas. Defendant is subject to this

Court’s specific and/or general personal jurisdiction pursuant to due process and/or the Texas Long

Arm Statute, Tex. Civ. Prac. & Rem. Code § 17.042, due at least to their substantial and pervasive

business in this State and judicial district, including at least part of their infringing activities alleged

herein and deriving substantial revenue from goods sold to Texas residents.

        6.      Venue is proper for Defendant in this federal district pursuant to 28 U.S.C.

§§ 1391(b), (c), and 1400(b). Defendant offers products and services and conducts business in the

Eastern District of Texas. See Wireless Communications Mobile, LLC v. Vivint, Inc., No. 6:19-cv-

00163-JCB-JDL Dkt. 16, ¶ 11 (August 9, 2022 E.D. Tex.) (“Vivint admits it offers products and

services and conducts business in the United States, the State of Texas, and the Eastern District of

Texas.”). Vivint’s website describes areas within this District, for example Tyler and McKinney,

                                                     2
11022307v1/017428
  Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 3 of 48 PageID #: 3




Texas, as within its “Service Area,” and offers “24/7 Monitoring,” “Custom System[s],” and

“Professional Installation,” within this area.        See “Home Security Systems Tyler, Texas,”

https://www.vivint.com/locations/texas/tyler     [https://perma.cc/E6PH-DQK9]        (last   accessed:

10/10/2022);          “Home           Security           Systems          McKinney,           Texas,”

https://www.vivint.com/locations/texas/mckinney [https://perma.cc/2U2P-TQ3Q] (last accessed:

10/10/2022).

        7.      To conduct its business in the District, Defendant employs a number of individuals

within this District. Upon information and belief, Vivint’s “business specifically depend[s] on

employees being physically present at places in the district, and it [is] undisputable that [Vivint]

affirmatively acted to make permanent operations within [this] district to service its customers.” In

re Cray Inc., 871 F.3d 1355, 1365–66 (Fed. Cir. 2017) (citing In re Cordis Corp., 769 F.2d 733,

736 (Fed. Cir. 1985)). At least through these employees, Vivint “does its business in [this] district

through a permanent and continuous presence.” In re Cordis Corp., 769 F.2d 733, 737 (Fed. Cir.

1985). For example, Vivint’s website notes that “Vivint Pros are available for professional

installation for Tyler [Texas] residents, so you can enjoy the safety and security of this unbelievable

smart home system right away.”                 See “Home Security Systems Tyler, Texas,”

https://www.vivint.com/locations/texas/tyler     [https://perma.cc/E6PH-DQK9]        (last   accessed:

10/10/2022). Vivint’s “Careers” website also lists numerous jobs available in this district, including

positions in Plano and McKinney, Texas as “Field Service Technician[s].” See “Field Service

Technician,”        https://vivint.wd5.myworkdayjobs.com/vivintjobs/job/Plano-TX/Field-Service-

Technician_R119277 [https://perma.cc/URA8-GEAB] (Plano, TX) (last accessed: 10/10/2022);

“Field Service Technician,” https://vivint.wd5.myworkdayjobs.com/vivintjobs/job/Mckinney-

TX/Field-Service-Technician_R119392 [https://perma.cc/ECJ8-JVEF] (McKinney, TX) (last



                                                  3
11022307v1/017428
  Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 4 of 48 PageID #: 4




accessed: 10/10/2022).

        8.      On information and belief, Defendant also has at least one regular and established

place of business in this District in the physical building at 1115 W Hickory Street #105, Denton,

TX 7620 (depicted below).




Fig. 1 (source left: https://www.google.com/maps/place/Vivint/@33.2145196,-
97.145092,19z/data=!3m1!4b1!4m12!1m6!3m5!1s0x864dca66450f6dd9:0xac14670de07e598d!2
sSushi+Cafe+%26+Bar!8m2!3d33.214429!4d-
97.1447356!3m4!1s0x864dca664fea2e4f:0x7854e1644cda649a!8m2!3d33.2145301!4d-
97.1445475 [https://perma.cc/P2U7-Y5GC?type=image] (last accessed: 10/10/2022); source
right: https://www.google.com/maps/@33.2146219,-
97.1445091,3a,75y,185.26h,86.66t/data=!3m6!1e1!3m4!1sfL0w7qf1zoD4zYIFG7v-
UQ!2e0!7i16384!8i8192 [https://perma.cc/JK3L-ZG6P?type=image] (last accessed: 10/10/2022))

        9.      According to Denton County property tax records, Defendant owns 100% of this

office and pays property taxes for this location. See In re Cray Inc., 871 F.3d 1355, 1360 (Fed. Cir.


                                                 4
11022307v1/017428
  Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 5 of 48 PageID #: 5




2017).




Fig. 2 (source: https://taxweb.dentoncounty.gov/Receipt/749593DEN/16148627
[https://perma.cc/3EZ7-XV5U] (last accessed: 10/10/2022))




Fig. 3 (source:
https://propaccess.trueautomation.com/clientdb/Property.aspx?cid=19&prop_id=749593
[https://perma.cc/9SJ6-UJX8] (last accessed: 10/10/2022))

         10.    On information and belief, from and within this District, Defendant has committed

                                                5
11022307v1/017428
  Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 6 of 48 PageID #: 6




and continues to commit acts of infringement in this District.

                                  FACTUAL ALLEGATIONS

Fractus Technology

        11.     Fractus is a company specializing in advanced antenna technologies based in

Barcelona, Spain. Fractus was founded by two college friends, Ruben Bonet and Carles Puente. Dr.

Puente, a Professor at the Universitat Politècnica de Catalunya, is the lead inventor on the Patents-

in-Suit. Dr. Puente’s early research work focused on fractal antennas and evolved over time into

the widely applicable and flexible antenna designs that appear in and are covered by the Patents-in-

Suit.

        12.     The Patents-in-Suit were filed as a result of novel research by Fractus into antenna

design for wireless devices. Designers of wireless devices often face a number of challenges related

to internal antennas capable of enabling efficient multiband operation. As with all antennas, these

components both radiate and respond to electromagnetic waves. In the cramped confines of

wireless devices, electromagnetic waves given off or absorbed by neighboring components in close

proximity to an antenna can significantly impair the antenna’s performance and efficiency. Without

careful design, these problems may degrade an antenna’s electromagnetic performance to the point

that the device ceases to function in its intended manner or may require the designer to compromise

on other desirable device attributes, such as size. The Patents-in-Suit solve these problems through

a variety of novel solutions enabling multiband operation and small size without the efficiency

impairments normally faced by these antennas.

        13.     Fractus has designed antennas for and/or has licensed the right to use its technology

to leading companies across a variety of industries, including HTC, LG, RIM, Motorola, Samsung,

Asus, ZTE, and CommScope. Since its incorporation Fractus has cumulatively sold more than 40

million antennas to customers. Among the numerous awards and honors the company has received

                                                  6
11022307v1/017428
  Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 7 of 48 PageID #: 7




for its innovative work, Fractus won the 2004 Frost & Sullivan Award for technological innovation,

was named a 2005 Davos World Economic Forum Technology Pioneer and one of Red Herring’s

top innovative companies for 2006. Fractus inventors were finalist for the EPO European Inventor

Award in 2014 and in April 2017 Fractus received the “European Inspiring Company Award” by

the London Stock Exchange and the Elite Group. In October 2017, Fractus was selected by the

European Patent Office (EPO) as an example of IP strategist for small and medium-sized

enterprises. In 2021, Fractus endowed a chair at Pompeu Fabra University in Spain, to enhance

technology transfer and research into 6G wireless communications. And most recently, in

September 2022, Fractus and the Polytechnic University of Catalonia partnered in the creation of a

research and technology hub to develop “deep tech” solutions for global challenges.

Vivint’s Infringing Products

        14.     Vivint makes, uses, sells, offers for sale and / or imports Infringing Products in the

United States, including, but not limited to, the Vivint Smart Hub Panel (CP04) and the Vivint Car

Guard (SD6200).

        15.     The above list is not exhaustive. Fractus’s investigation of Vivint’s Infringing

Products is ongoing, and the above list will expand as warranted to include additional Infringing

Products with similarly designed antennas.

        16.     The Patents-in-Suit generally relate to the design and construction of antennas

capable of receiving and transmitting in the multiple frequencies necessary for communication

across cellular and wireless networks. The Patents-in-Suit solve a variety of novel and difficult

problems related to the design of such antennas, including those related to the antennas’ optimal

operating frequencies, optimal radiation / reception patterns, the minimization of undesired

radiation from neighboring elements, efficient operation, and satisfaction of size constraints. The



                                                  7
11022307v1/017428
  Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 8 of 48 PageID #: 8




Patents-in-Suit achieve these solutions through creative application of advanced antenna principles

developed by Fractus.

Notice and Willfulness

        17.     Fractus first noticed Vivint via two letters in June of 2021. The letters informed

Vivint that Fractus believed Vivint was infringing Fractus’s patents. The letters provided a full list

of Fractus’s patent portfolio, and specifically identified certain Fractus patents—including two of

the Patents-in-Suit—which, e.g., the Vivint Smart Hub Panel infringed upon. One letter was sent

to Mr. Shawn Lindquist, then-Chief Legal Officer of Vivint, Inc., and the other letter was addressed

to Mr. Lindquist and sent “c/o” to Vivint’s agent The Corporation Trust Company. Though Fractus

received delivery confirmation that Vivint and its agent had received these letters, Vivint made no

attempt to contact Fractus to discuss infringement or licensing.

        18.     Fractus further noticed Vivint via two more letters in February of 2022, both also

remaining unanswered at the time of this complaint: the first letter was sent to Mr. Garner Meads,

current Chief Legal Officer and Secretary of Vivint, Inc., and the second letter was addressed to

Mr. Meads and sent again “c/o” to Vivint’s agent The Corporation Trust Company. Those second

letters were a follow-up of the first letters sent in June of 2021, and indicated that Fractus had

identified additional infringing products and additional patents and claims owned by Fractus that

Vivint was infringing, and offered Vivint the opportunity to engage in discussions. Though Fractus

also received delivery confirmation that Vivint and its agent had received these letters, Vivint made

no attempt to contact Fractus to discuss infringement or licensing.

        19.     Upon information and belief, prior to this lawsuit Vivint never disputed the validity

of the Patents-in-Suit. In particular, Vivint has never communicated any allegedly invalidating prior

art to Fractus or attempted to bring any post-grant action at the United States Patent and Trademark



                                                  8
11022307v1/017428
  Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 9 of 48 PageID #: 9




Office.

          20.    Vivint’s conduct has demonstrated a pattern of bad-faith actions in continuing to

infringe upon the Patents-in-Suit despite being on notice that it was infringing Fractus’s patents.

Instead of duly obtaining authorization or a license to practice the Patents-in-Suit and as shown

below, Vivint has continued making, using, selling, offering for sale, and / or importing into the

United States products that infringed the Patents-in-Suit.




Fig.      4     (source:   https://www.vivint.com/products/smart-hub         [https://perma.cc/22NA-

MTVE?type=image] (last accessed 10/10/2022))

          21.    Vivint’s repeated failure to respond to any notice letter and continued sale of the

infringing product(s) identified in these letters evinces a deliberate lack of intention to solve the

matter amicably. Vivint has either reviewed Fractus’s letters regarding infringement, concluded

Vivint needed a license, and yet proceeded to sell infringing products regardless of that

determination or, in spite of the repeated notice letters, has failed to make a good faith effort to

evaluate the Patents-in-Suit or even discuss the matter with Fractus and thus willfully blinding itself



                                                  9
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 10 of 48 PageID #: 10




to the need to obtain a license to practice the Patents-in-Suit.

                       INFRINGEMENT OF U.S. PATENT NO. 7,907,092

        22.      On March 15, 2011, United States Patent No. 7,907,092 (the “ ‘092 Patent”) was

duly and legally issued for an invention entitled “Antenna With One or More Holes.” A true and

correct copy of the ‘092 Patent is attached as Exhibit 1.

        23.      The ‘092 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code. The ‘092 Patent expired on July 15, 2022.

        24.      The ‘092 Patent describes antennas in which a conductive radiating element includes

one or more holes that permit the antenna to exhibit multiband behavior. The features described in

the ‘092 Patent, in particular the addition of holes in the radiating element, enable the antenna to

feature multiband behavior in a reduced size.

        25.      As one example, claim 1 of the ‘092 Patent recites:

              a. A wireless device comprising:

                     i. A radiating element, the radiating element comprising:

                            1. A conducting body including a hole;

                            2. An input terminal;

                    ii. A ground plane, the ground plane operating in cooperation with the radiating

                        element;

                    iii. A dielectric support, wherein the radiating element is arranged on the

                        dielectric support;

                    iv. A feeding means, the feeding means being coupled to the input terminal;

                     v. Wherein the radiating element defines an external perimeter;

                    vi. Wherein the hole has an area of at least 20% of an area included inside the

                        external perimeter;

                                                  10
11022307v1/017428
    Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 11 of 48 PageID #: 11




                    vii. Wherein the external perimeter of the radiating element is shaped as a first

                         polygonal shape comprising at least four sides;

                    viii. Wherein a perimeter of the hole is shaped as a second polygonal shape

                         comprising a plurality of sides;

                     ix. Wherein the first polygonal shape and the second polygonal shape are not

                         similar;

                      x. Wherein the radiating element is shorter than a quarter of a longest operating

                         wavelength of the wireless device; and

                     xi. Wherein the wireless device is operative at multiple frequency bands.

         26.      Defendant has directly infringed at least claim 1 of the ‘092 Patent in violation of

35 U.S.C. § 271(a) by its manufacture, use, sale, importation, and/or offer for sale of Infringing

Products, including but not limited to certain alarm systems, alarm system components and/or

aftermarket car telematics with internal antennas. As detailed below, the Infringing Products meet

every element of the relevant claims of the ‘092 Patent literally or under the doctrine of equivalents.1

         27.      As an example, the Vivint Smart Hub Panel satisfies all claim limitations of at least

claim 1 of the ‘092 Patent.

               a. The device is a wireless device which possesses a radiating element comprising a

                  conducting body including a hole and an input terminal, as well as a feeding means

                  coupled to the input terminal and a ground plane which operates in cooperation with

                  the radiating element which, in turn, is arranged on the dielectric support.




1
 This description is illustrative and is not intended to be an exhaustive or limiting explanation of
every manner in which each Infringing Product infringes the ‘092 Patent.

                                                   11
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 12 of 48 PageID #: 12




                                     12
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 13 of 48 PageID #: 13




            b. The radiating element of this antenna defines an external perimeter with at least four

                sides with at least one hole which is not the same polygonal shape as that defined by

                the external perimeter, which has a plurality of sides, and which has an area of at

                least 20% of the area included inside the antenna’s external perimeter.




            c. The radiating element is shorter than a quarter of a longest operating wavelength of

                the wireless device and enables operation at multiple frequency bands.

                                                 13
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 14 of 48 PageID #: 14




        28.     Defendant has knowledge of the ‘092 Patent and has also indirectly infringed at least

claim 1 of the ‘092 Patent by active inducement under 35 U.S.C. § 271(b). Defendant has induced,

caused, urged, encouraged, aided and abetted their direct and indirect customers to make, use, sell,

offer for sale and/or import Infringing Products. Defendant has done so by acts including but not

limited to selling Infringing Products to their customer; marketing Infringing Products; and

providing instructions, technical support, and direct links to vendor websites (available via, e.g.,

https://shop.vivint.com/?ca=981748 [https://perma.cc/9RT7-BTNU?type=image] (last accessed

10/10/2022)) for the use of Infringing Products. Such conduct by Defendant was intended to and

actually resulted in direct infringement, including the making, using, selling, offering for sale,

and/or importation of Infringing Products in the United States.

        29.     The acts of infringement by Defendant have caused damage to Fractus, and Fractus

is entitled to recover from Defendant the damages sustained by Fractus as a result of Defendant’s

wrongful acts in an amount subject to proof at trial.

                      INFRINGEMENT OF U.S. PATENT NO. 8,738,103

        30.     On May 27, 2014, United States Patent No. 8,738,103 (the “ ‘103 Patent”) was duly

                                                 14
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 15 of 48 PageID #: 15




and legally issued for an invention entitled “Multiple-Body-Configuration Multimedia and

Smartphone Multifunction Wireless Devices.” A true and correct copy of the ‘103 Patent is

attached as Exhibit 2.

        31.      The ‘103 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        32.      The ‘103 Patent generally describes the design of internal antennas for multifunction

wireless devices. The antennas described by the ‘103 Patent resolve a number of problems related

to design of efficient antennas for operation in these size-constrained devices including, among

other issues, problems related to antenna-device integration arising from the presence of additional

electronic subsystems and/or antennas.

        33.      For example, claim 12 of the ‘103 Patent recites:

              a. A handheld multifunction wireless device having at least one of multimedia

                 functionality and smartphone functionality, the handheld multifunction wireless

                 device comprising:

                      i.    A touch screen;

                     ii.    A processing module;

                    iii.    A memory module;

                    iv.     A communication module;

                     v.     A power management module;

                    vi.     An antenna system within the handheld multifunction wireless device and

                            comprising:

                           1. A ground plane layer;

                           2. A first antenna element configured to simultaneously support radiation



                                                   15
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 16 of 48 PageID #: 16




                           modes for first, second, and third frequency bands, the first frequency

                           band being contained within a first frequency region of an

                           electromagnetic spectrum, the second frequency band being contained

                           within a second frequency region of the electromagnetic spectrum that is

                           higher in frequency than the first frequency region, the third frequency

                           band of operation being used by a 4G communication standard, wherein

                           a. A perimeter of the first antenna element defines a first antenna

                               contour comprising at least thirty-five segments,

                           b. The first antenna element defining an antenna box, an orthogonal

                               projection of the antenna box along a normal to a face with a largest

                               area of the antenna box defining an antenna rectangle, wherein a

                               length of the first antenna contour is greater than four times a

                               diagonal of the antenna rectangle; and

                       3. A second antenna element configured to operate in at least one frequency

                           band used by a 4G communication standard, wherein

                             a. A perimeter of the second antenna element defines a second

                                antenna contour comprising at least twenty segments.

        34.     Defendant has directly infringed and continues to infringe at least claim 12 of the

‘103 Patent in violation of 35 U.S.C. § 271(a) by its manufacture, use, sale, importation, and/or

offer for sale of Infringing Products, including but not limited to certain alarm systems, alarm

system components and/or aftermarket car telematics with internal antennas. As detailed below,

the Infringing Products meet every element of the relevant claims of the ‘103 Patent literally or




                                                16
11022307v1/017428
    Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 17 of 48 PageID #: 17




under the doctrine of equivalents.2

         35.      As an example, the Vivint Smart Hub Panel satisfies all of the claim limitations of

at least claim 12 of the ‘103 Patent.

               a. The device possesses a touchscreen, a processing module, a memory module, a

                  communication module, a power management module, and the relevant

                  functionalities.




               b. The antenna system includes a ground plane layer and a first antenna element with

                  the requisite frequency bands.




2
 This description is illustrative and is not intended to be an exhaustive or limiting explanation of
every manner in which each Infringing Product infringes the ‘103 Patent.

                                                   17
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 18 of 48 PageID #: 18




            c. The first antenna element defines a contour comprising at least thirty-five segments

                and defines an antenna box with the relevant properties.




                                                18
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 19 of 48 PageID #: 19




                                     19
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 20 of 48 PageID #: 20




              d. And the second antenna element possesses the relevant frequency properties and

                 defines a contour comprising at least twenty segments.




        36.      Defendant has knowledge of the ‘103 Patent and has also indirectly infringed at least

claim 12 of the ‘103 Patent by active inducement under 35 U.S.C. § 271(b). Defendant has induced,


                                                  20
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 21 of 48 PageID #: 21




caused, urged, encouraged, aided and abetted their direct and indirect customers to make, use, sell,

offer for sale and/or import Infringing Products. Defendant has done so by acts including but not

limited to selling Infringing Products to their customer; marketing Infringing Products; and

providing instructions, technical support, and direct links to vendor websites (available via, e.g.,

https://shop.vivint.com/?ca=981748 [https://perma.cc/9RT7-BTNU?type=image] (last accessed

10/10/2022)) for the use of Infringing Products. Such conduct by Defendant was intended to and

actually resulted in direct infringement, including the making, using, selling, offering for sale,

and/or importation of Infringing Products in the United States.

        37.     The acts of infringement by Defendant have caused damage to Fractus, and Fractus

is entitled to recover from Defendant the damages sustained by Fractus as a result of Defendant’s

wrongful acts in an amount subject to proof at trial. The infringement of Fractus’s exclusive rights

under the ‘103 Patent by Defendant has damaged and will continue to damage Fractus, causing

irreparable harm, for which there is no adequate remedy at law, unless enjoined by this Court.

                     INFRINGEMENT OF U.S. PATENT NO. 11,349,200

        38.     On May 31, 2022, United States Patent No. 11,349,200 (the “ ‘200 Patent”) was

duly and legally issued for an invention entitled “Multiple-Body-Configuration Multimedia and

Smartphone Multifunction Wireless Devices.” A true and correct copy of the ‘200 Patent is

attached as Exhibit 3.

        39.     The ‘200 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        40.     The ‘200 Patent describes multiband antennas for multifunction wireless devices

which combine mobile data and voice services within a single unit to enable smaller and thinner

devices. The antennas are described in part through a “complexity factor” reflecting the complexity

and degree of convolution of features the antenna demonstrates when viewed in detail.

                                                21
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 22 of 48 PageID #: 22




        41.      For example, claim 11 of the ‘200 Patent recites:

              a. A wireless device comprising:

                    i.   An antenna system comprising a ground plane and at least two antennas

                         within the wireless device, the antenna system comprising:

                              1. A first antenna configured to provide operation in at least three

                                  frequency bands being used by 4G communication standards,

                                           a. The first antenna defining an antenna contour

                                               comprising an entire perimeter of the first antenna,

                                               the antenna contour comprising at least twenty

                                               segments, wherein the antenna contour has a level of

                                               complexity defined by complexity factor F21 having a

                                               value of at least 1.20 and complexity factor F32 having

                                               a value of at least 1.35, and

                                           b. Wherein the first antenna defines an antenna box that

                                               is a minimum-sized parallelepiped that completely

                                               encloses a volume of the first antenna and wherein

                                               each face of the minimum-sized parallelepiped is

                                               tangent to at least one point of the volume of the first

                                               antenna,

                                           c. An orthogonal projection of the antenna box along a

                                               normal to a face with a largest area of the first antenna

                                               defining an antenna rectangle,

                                           d. An aspect ratio of the antenna rectangle being defined



                                                 22
11022307v1/017428
    Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 23 of 48 PageID #: 23




                                                  as a ratio between a width and a height of the antenna

                                                  rectangle, wherein the aspect ratio has a value of at

                                                  least 2; and

                                2. A second antenna configured to provide operation in a first

                                   wireless service, the second antenna being proximate to a side of a

                                   ground plane rectangle enclosing the ground plane.

         42.      Defendant has directly infringed and continues to infringe at least claim 11 of the

‘200 Patent by its manufacture, use, sale, importation, and/or offer for sale of Infringing Products,

including but not limited to certain alarm systems, alarm system components and/or aftermarket car

telematics with internal antennas. As detailed below, the Infringing Products meet every element

of the relevant claims of the ‘200 Patent literally or under the doctrine of equivalents.3

         43.      As an example, the Vivint Smart Hub satisfies all of the claim limitations of at least

claim 11 of the ‘200 Patent.

               a. It is a wireless device with an antenna system including a ground plane and at least

                  2 antennas within the device.




3
 This description is illustrative and is not intended to be an exhaustive or limiting explanation of
every manner in which each Infringing Product infringes the ‘200 Patent.

                                                    23
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 24 of 48 PageID #: 24




            b. The antenna system comprises a first antenna that provides operation in at least three

                frequency bands used by 4G communication standards and this first antenna defines

                an antenna contour satisfying a minimum number of segments and the complexity

                factor requirements.




                                                 24
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 25 of 48 PageID #: 25




            c. The first antenna complies with the relevant aspect ratio and footprint requirements.




                                                25
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 26 of 48 PageID #: 26




            d. The antenna system also comprises a second antenna providing operation in a

                wireless service and which is proximate to a side of the rectangle describing the

                ground plane.




                                               26
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 27 of 48 PageID #: 27




        44.     Defendant has knowledge of the ‘200 Patent and has also indirectly infringed at least

claim 11 of the ‘200 Patent by active inducement under 35 U.S.C. § 271(b). Defendant has induced,

caused, urged, encouraged, aided and abetted their direct and indirect customers to make, use, sell,

offer for sale and/or import Infringing Products. Defendant has done so by acts including but not

limited to selling Infringing Products to their customer; marketing Infringing Products; and

providing instructions, technical support, and direct links to vendor websites (available via, e.g.,

https://shop.vivint.com/?ca=981748 [https://perma.cc/9RT7-BTNU?type=image] (last accessed

10/10/2022)) for the use of Infringing Products. Such conduct by Defendant was intended to and

actually resulted in direct infringement, including the making, using, selling, offering for sale,

and/or importation of Infringing Products in the United States.

        45.     The acts of infringement by Defendant have caused damage to Fractus, and Fractus

is entitled to recover from Defendant the damages sustained by Fractus as a result of Defendant’s

wrongful acts in an amount subject to proof at trial. The infringement of Fractus’s exclusive rights

under the ‘200 Patent by Defendant has damaged and will continue to damage Fractus, causing

irreparable harm, for which there is no adequate remedy at law, unless enjoined by this Court.

                      INFRINGEMENT OF U.S. PATENT NO. 8,994,604

        46.     On March 31, 2015, United States No. 8,994,604 (the “ ‘604 Patent”) was duly and

legally issued for an invention entitled “Coupled Multiband Antennas.” A true and correct copy of

the ‘604 Patent is attached as Exhibit 4.

        47.     The ‘604 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code. The ‘604 Patent expired on October 9, 2022.

        48.     The ‘604 Patent describes antennas with two radiating arm structures which are

coupled together by means of a close proximity region to form a small antenna with broadband and

/ or multiband behavior.

                                                 27
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 28 of 48 PageID #: 28




        49.      For example, claim 1 of the ‘604 Patent recites:

              a. A wireless portable device comprising:

                     i. A printed circuit board comprising a ground plane structure;

                     ii. An antenna system operating in multiple frequency bands

                    iii. The antenna system comprising:

                            1. A first radiating arm comprising a first-radiating-arm first tip, a first-

                                radiating-arm second tip, and a feeding terminal connected to the

                                first-radiating-arm first tip, wherein the first radiating arm is not

                                connected to the ground plane structure through a grounding

                                terminal; and

                            2. A second radiating arm comprising a second-radiating-arm first tip,

                                a second-radiating-arm second tip, and a grounding terminal

                                connected to the second-radiating-arm first tip, wherein the second

                                radiating arm does not include a contact point with first radiating

                                arm,

                    iv. Wherein:

                            1. The first radiating arm and the second radiating arm are coupled

                                through a close proximity region from a first specific portion of the

                                first radiating arm and from a second specific portion of the second

                                radiating arm;

                            2. A length of a line segment between a point of the first specific portion

                                and a point of the second specific portion is shorter than a distance

                                between the feeding terminal and the grounding terminal;



                                                  28
11022307v1/017428
    Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 29 of 48 PageID #: 29




                             3. An orthogonal projection of the line segment onto a plane of the

                                 ground plane structure does not intersect the ground plane structure;

                                 and

                             4. The first radiating arm, the second radiating arm and the close

                                 proximity region are configured to simultaneously provide the

                                 bandwidth required for the antenna system to operate in the multiple

                                 frequency bands.

         50.      Defendant has directly infringed at least claim 1 of the ‘604 Patent in violation of

35 U.S.C. § 271(a) by its manufacture, use, sale, importation, and/or offer for sale of Infringing

Products, including but not limited to certain alarm systems, alarm system components and/or

aftermarket car telematics with internal antennas. As detailed below, the Infringing Products meet

every element of the relevant claims of the ‘604 Patent literally or under the doctrine of equivalents.4

         51.      For example, the Vivint Smart Hub Panel satisfies all of the claim limitations of at

least claim 1 of the ‘604 Patent.

               a. The panel is a portable device comprising a printed circuit board comprising a

                  ground plane and a multi-band antenna system.




4
 This description is illustrative and is not intended to be an exhaustive or limiting explanation of
every manner in which each Infringing Product infringes the ‘604 Patent.

                                                    29
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 30 of 48 PageID #: 30




            b. The antenna system comprises a first and a second radiating arms with the relevant

                properties and arm tip requirements.




            c. Both first and second radiating arms are coupled through a close proximity region,



                                                30
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 31 of 48 PageID #: 31




                with a line segment between two specific portions from both arms being shorter than

                the distance between the feeding and grounding terminal.




            d. An orthogonal projection of the line segment does not intersect the ground plane,

                and both the first and second radiating arms and the close proximity region provide

                the relevant bandwidth required for the multi-band antenna to operate.




                                                31
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 32 of 48 PageID #: 32




        52.     Defendant has knowledge of the ‘604 Patent and has also indirectly infringed at least

claim 1 of the ‘604 Patent by active inducement under 35 U.S.C. § 271(b). Defendant has induced,

caused, urged, encouraged, aided and abetted their direct and indirect customers to make, use, sell,

offer for sale and/or import Infringing Products. Defendant has done so by acts including but not

limited to selling Infringing Products to their customer; marketing Infringing Products; and

providing instructions, technical support, and direct links to vendor websites (available via, e.g.,

https://shop.vivint.com/?ca=981748 [https://perma.cc/9RT7-BTNU?type=image] (last accessed

10/10/2022)) for the use of Infringing Products. Such conduct by Defendant was intended to and

actually resulted in direct infringement, including the making, using, selling, offering for sale,

and/or importation of Infringing Products in the United States.

        53.     The acts of infringement by Defendant have caused damage to Fractus, and Fractus

is entitled to recover from Defendant the damages sustained by Fractus as a result of Defendant’s

wrongful acts in an amount subject to proof at trial.




                                                 32
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 33 of 48 PageID #: 33




                      INFRINGEMENT OF U.S. PATENT NO. 10,135,138

        54.      On November 20, 2018, United States Patent No. 10,135,138 (the “ ‘138 Patent”)

was duly and legally issued for an invention entitled “Coupled Multiband Antennas.” A true and

correct copy of the ‘138 Patent is attached as Exhibit 5.

        55.      The ‘138 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code. The ‘138 Patent expired on September 10, 2022.

        56.      Like the ‘604 Patent, the ‘138 Patent describes antennas with two radiating arm

structures which are coupled together by means of a close proximity region to form a small antenna

with broadband and / or multiband behavior.

        57.      For example, claim 1 of the ‘138 Patent recites:

              a. An apparatus comprising:

                     i. An antenna having a multi-band behavior, the antenna being arranged within

                        the apparatus and

                    ii. The antenna comprising:

                            1. A ground plane;

                            2. A first radiating structure fed through a feeding terminal and

                                including a plurality of first conductive traces connected end-to-end

                                in a folded arrangement,

                                    a. The first radiating structure having a length extending along

                                       a non-straight path formed by the first conductive traces from

                                       a first end at the feeding terminal to a second, open end and

                                       having a width perpendicular to the non-straight path formed

                                       by the first conductive traces,

                                    b. Wherein the width of the first radiating structure varies over

                                                  33
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 34 of 48 PageID #: 34




                               an extent of the first radiating structure; and

                    3. A second radiating structure connected to the ground plane through

                       a grounding terminal,

                           a. The second radiating structure including a plurality of second

                               conductive traces connected end-to-end in a folded

                               arrangement and having a length extending along a non-

                               straight path formed by the second conductive traces from a

                               first end at the grounding terminal to a second, open end,

                           b. The second radiating structure being separated from the first

                               radiating structure by a distance that is non-constant over an

                               extent of the first and second radiating structures, the distance

                               being in a direction that is orthogonal to at least one of the

                               first and second radiating structures, wherein:

                    4. The first and second radiating structures and the distance between

                       the first and second radiating structures are configured to enable the

                       antenna to operate at a first frequency range and a second separate

                       frequency range higher in frequency than the first frequency range;

                    5. The distance between the first and second radiating structures is

                       configured to transfer electromagnetic fields from the first radiating

                       structure to the second radiating structure at the second frequency

                       range; and

                    6. The length of the second radiating structure is configured to increase

                       the resulting bandwidth of the antenna at the second frequency range



                                         34
11022307v1/017428
    Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 35 of 48 PageID #: 35




                                  in relation to the bandwidth of the first radiating structure.

         58.      Defendant has directly infringed at least claim 1 of the ‘138 Patent in violation of

35 U.S.C. § 271(a) by its manufacture, use, sale, importation, and/or offer for sale of Infringing

Products, including but not limited to certain alarm systems, alarm system components and/or

aftermarket car telematics with internal antennas. As detailed below, the Infringing Products meet

every element of the relevant claims of the ‘138 Patent literally or under the doctrine of equivalents.5

         59.      For example, the Vivint Smart Hub Panel satisfies all of the claim limitations of at

least claim 1 of the ‘138 Patent.

               a. The Panel is an apparatus with an interior antenna having multi-band behavior along

                  with a ground plane.




               b. The antenna possesses a first radiating structure fed through a feeding terminal with

                  conductive traces connected in a folded arrangement. The first radiating structure


5
 This description is illustrative and is not intended to be an exhaustive or limiting explanation of
every manner in which each Infringing Product infringes the ‘138 Patent.

                                                    35
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 36 of 48 PageID #: 36




                extends along a non-straight path by conductive traces from the feeding terminal to

                a second open end with a width varying and perpendicular to the non-straight path.




            c. The second radiating structure is connected to the ground plane through the ground

                terminal and possess the relevant arrangement of conductive traces.




                                                36
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 37 of 48 PageID #: 37




            d. The second radiating structure is separate from the first radiating structure by a

                distance which is non-constant and orthogonal to at least one of the two radiating

                structures.




                      e. The distance between the two structures is configured to enable operation



                                                37
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 38 of 48 PageID #: 38




                    at the relevant frequency ranges and to transfer electromagnetic fields

                    between the structures at the proper frequencies. Additionally, the length

                    of the second structure is configured to increase the bandwidth of the

                    antenna at the relevant ranges relative to the bandwidth of the first

                    radiating structure.




                                           38
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 39 of 48 PageID #: 39




        60.     Defendant has knowledge of the ‘138 Patent and has also indirectly infringed at least

claim 1 of the ‘138 Patent by active inducement under 35 U.S.C. § 271(b). Defendant has induced,

caused, urged, encouraged, aided and abetted their direct and indirect customers to make, use, sell,

offer for sale and/or import Infringing Products. Defendant has done so by acts including but not


                                                 39
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 40 of 48 PageID #: 40




limited to selling Infringing Products to their customer; marketing Infringing Products; and

providing instructions, technical support, and direct links to vendor websites (available via, e.g.,

https://shop.vivint.com/?ca=981748 [https://perma.cc/9RT7-BTNU?type=image] (last accessed

10/10/2022)) for the use of Infringing Products. Such conduct by Defendant was intended to and

actually resulted in direct infringement, including the making, using, selling, offering for sale,

and/or importation of Infringing Products in the United States.

        61.      The acts of infringement by Defendant have caused damage to Fractus, and Fractus

is entitled to recover from Defendant the damages sustained by Fractus as a result of Defendant’s

wrongful acts in an amount subject to proof at trial.

                      INFRINGEMENT OF U.S. PATENT NO. 10,468,770

        62.      On November 5, 2019, United States Patent No. 10,468,770 (the “ ‘770 Patent”) was

duly and legally issued for an invention entitled “Coupled Multiband Antennas.” A true and correct

copy of the ‘770 Patent is attached as Exhibit 6.

        63.      The ‘770 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code. The ‘770 Patent expired on September 10, 2022.

        64.      Like the ‘138 Patent, the ‘770 Patent describes antennas with two radiating arm

structures which are coupled together by means of a close proximity region to form a small antenna

with broadband and / or multiband behavior.

        65.      For example, claim 1 of the ‘770 Patent recites:

              a. An apparatus comprising:

                i.   An antenna having a multi-band behavior, the antenna being arranged within the

                     apparatus and

               ii.   The antenna comprising:

                          1. A ground plane;

                                                    40
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 41 of 48 PageID #: 41




                         2. A first radiating structure fed through a feeding terminal and including

                           a plurality of first conductive traces connected end-to-end in a folded

                           arrangement,

                               a. The first radiating structure having a length extending along a

                                    non-straight path formed by the first conductive traces from a

                                    first end at the feeding terminal to a second, open end; and

                          3. A second radiating structure connected to the ground plane through a

                           grounding terminal, the second radiating structure including a plurality

                           of second conductive traces connected end-to-end in a folded

                           arrangement and

                               a. Having a length extending along a non-straight path formed by

                                    the second conductive traces from a first end at the grounding

                                    terminal to a second, open end,

                               b.   The second radiating structure being separated from the first

                                    radiating structure by a distance that is non-constant over an

                                    extent of the first and second radiating structures, the distance

                                    being in a direction that is orthogonal to at least one of the first

                                    and second radiating structures, wherein:

             iii.   The first and second radiating structures and the distance between the first and

                    second radiating structures are configured to enable the antenna to operate at a

                    first frequency band, a second separate frequency band higher in frequency than

                    the first frequency band, and a third frequency band higher than the second

                    frequency band; and



                                                  41
11022307v1/017428
    Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 42 of 48 PageID #: 42




                iv.   The distance between the first and second radiating structures is configured to

                      transfer electromagnetic fields from the first radiating structure to the second

                      radiating structure at least at the second frequency band.

         66.      Defendant has directly infringed at least claim 1 of the ‘770 Patent in violation of

35 U.S.C. § 271(a) by its manufacture, use, sale, importation, and/or offer for sale of Infringing

Products, including but not limited to certain alarm systems, alarm system components and/or

aftermarket car telematics with internal antennas. As detailed below, the Infringing Products meet

every element of the relevant claims of the ‘770 Patent literally or under the doctrine of equivalents.6

         67.      For example, the Vivint Smart Hub Panel satisfies all claim limitations of at least

claim 1 of the ‘770 Patent.

               a. The Panel is an apparatus with an interior antenna having multi-band behavior along

                  with a ground plane.




6
 This description is illustrative and is not intended to be an exhaustive or limiting explanation of
every manner in which each Infringing Product infringes the ‘770 Patent.

                                                   42
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 43 of 48 PageID #: 43




            b. The antenna possesses a first radiating structure fed through a feeding terminal with

                conductive traces connected in a folded arrangement. The first radiating structure

                extends along a non-straight path by conductive traces from the feeding terminal to

                a second open end with a width varying and perpendicular to the non-straight path.




            c. The second radiating structure is connected to the ground plane through the ground

                terminal and possess the relevant arrangement of conductive traces.




                                                43
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 44 of 48 PageID #: 44




            d. The second radiating structure is separated from the first radiating structure by a

                distance which is non-constant and orthogonal to at least one of the two radiating

                structures.




            e. The distance between the two radiating structures is configured to enable the antenna

                to operate at the three relevant frequency bands.

                                                 44
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 45 of 48 PageID #: 45




              f. The distance between the two structures is configured to transfer electromagnetic

                 fields from the first radiating structure to the second structure at the relevant

                 frequency band.




        68.      Defendant has knowledge of the ‘770 Patent and has also indirectly infringed at least

                                                  45
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 46 of 48 PageID #: 46




claim 1of the ‘770 Patent by active inducement under 35 U.S.C. § 271(b). Defendant has induced,

caused, urged, encouraged, aided and abetted their direct and indirect customers to make, use, sell,

offer for sale and/or import Infringing Products. Defendant has done so by acts including but not

limited to selling Infringing Products to their customer; marketing Infringing Products; and

providing instructions, technical support, and direct links to vendor websites (available via, e.g.,

https://shop.vivint.com/?ca=981748 [https://perma.cc/9RT7-BTNU?type=image] (last accessed

10/10/2022)) for the use of Infringing Products. Such conduct by Defendant was intended to and

actually resulted in direct infringement, including the making, using, selling, offering for sale,

and/or importation of Infringing Products in the United States.

        69.     The acts of infringement by Defendant have caused damage to Fractus, and Fractus

is entitled to recover from Defendant the damages sustained by Fractus as a result of Defendant’s

wrongful acts in an amount subject to proof at trial.

                                         PRAYER FOR RELIEF

        WHEREFORE, Fractus prays for judgment against Vivint as follows:

        70.     A judgment in favor of Fractus that Vivint has infringed and are infringing either

literally and/or under the doctrine of equivalents, the Patents-in-Suit;

        71.     An Order permanently enjoining Vivint, their respective officers, agents,

employees, and those acting in privity with them, from further direct and/or indirect infringement

of the unexpired Patents-in-Suit;

        72.     An award of damages to Fractus arising out of (1) Vivint’s past infringement of the

Patents-in-Suit, (2) Vivint’s on-going infringement of the unexpired Patents-in-Suit, and (3)

enhanced damages pursuant to 35 U.S.C. § 284, together with prejudgment and post-judgment

interest, in an amount according to proof;



                                                  46
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 47 of 48 PageID #: 47




        73.     An award of attorneys’ fees pursuant to 35 U.S.C. § 285 or as otherwise permitted

by law; and

        74.     Granting Fractus its costs and further relief as the Court may deem just and proper.

                                  DEMAND FOR JURY TRIAL

        75.     Pursuant to Federal Rule of Civil Procedure 38(b), Fractus hereby demands a trial

by jury on all issues triable by jury.



Dated: October 31, 2022                       Respectfully submitted,

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                                                 47
11022307v1/017428
 Case 2:22-cv-00413-JRG Document 1 Filed 10/21/22 Page 48 of 48 PageID #: 48




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                                     48
11022307v1/017428
